      Douglas R. Ricks, OSB #044026
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Sunshine Dairy Foods Management, LLC
               Debtors-in-Possession

      Nicholas J. Henderson, OSB #074027
      nhenderson@portlaw.com
      MOTSCHENBACHER & BLATTNER, LLP
      117 SW Taylor St., Suite 300
      Portland, OR 97204
      Telephone: (503) 417-0508
      Facsimile: (503) 417-0528

               Of Attorneys for Karamanos Holdings, Inc.,
               Debtor-in-Possession



                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

       In re                                                Bankruptcy Case Nos.

       Sunshine Dairy Foods Management, LLC                 18-31644-pcm11 (Lead Case)
       and
       Karamanos Holdings, Inc.,                            18-31646-pcm11

                                                            DEBTOR'S NOTICE OF
                                                            REJECTION OF EXECUTORY
                      Debtors-in-Possession.                CONTRACTS AND UNEXPIRED
                                                            LEASES; MOTION TO SET
                                                            DEADLINE ALLOWING PARTIES
                                                            TO REJECTED EXECUTORY
                                                            CONTRACTS AND UNEXPIRED
                                                            LEASES TO FILE A CLAIM

               Debtor-in-Possession, Sunshine Dairy Foods Management, LLC (“Debtor”) pursuant

      to Sections 365 and 1108(a), of the Bankruptcy Code, hereby gives notice of Debtor’s


Page 1 of 3     DEBTOR'S NOTICE OF REJECTION OF EXECUTORY CONTRACTS                VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
                AND UNEXPIRED LEASES; MOTION TO SET DEADLINE ALLOWING                319 SW Washington Street, Suite 520
                PARTIES TO REJECTED EXECUTORY CONTRACTS AND UNEXPIRED                   Portland, Oregon 97204-2690
                                                                                               (503) 241-4869
                LEASES TO FILE A CLAIM
                          Case 18-31644-pcm11      Doc 545     Filed 11/13/18
      rejection of the executory contracts and unexpired leases between the Debtor and the

      parties set forth on Exhibit 1 (the "Contracts/Leases") which is attached to the proposed

      Order marked Exhibit A. Debtor moves the Court for entry of an Order in the form attached

      hereto as Exhibit A authorizing any of the parties listed on Exhibit 1 attached thereto to be

      given 45 days following entry of the Order within which to file a claim for any damages

      sustained as a result of the rejection of the Contracts/Leases pursuant to FRBP 3002(c)(4)

      and 3003(c)(3).

                                              ARGUMENT

              Under 11 U.S.C. Section 365(a), a debtor-in-possession has the authority, in the

      exercise of its business judgment, to reject any executory contract or unexpired lease if

      rejection is in the best interests of the bankruptcy estate. Arguably, the Contracts/Leases

      are within the definition of “executory contracts and unexpired leases,” and therefore, out of

      abundance of caution, Debtor has filed this Motion to reject the Contract/Leases.

              Here, the Debtor has ceased ongoing business operations and has no further need

      for the Contract/Leases set forth on Exhibit 1. There is no benefit to the bankruptcy estate

      from the continuation of the Contracts/Leases and Debtor has elected to reject the

      Contracts/Leases. Those executory contracts and unexpired leases that could provide

      benefit to the bankruptcy estate have already been assumed and assigned as part of earlier

      transactions authorized by the Court. Debtor has not located a party willing to accept

      assignment of the Contracts/Leases as would bring value to the bankruptcy estate.

              WHEREFORE, Debtor prays as follows:

              1.    The Court enter the proposed Order in the form attached hereto as Exhibit A;




Page 2 of 3    DEBTOR'S NOTICE OF REJECTION OF EXECUTORY CONTRACTS                VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
               AND UNEXPIRED LEASES; MOTION TO SET DEADLINE ALLOWING                319 SW Washington Street, Suite 520
               PARTIES TO REJECTED EXECUTORY CONTRACTS AND UNEXPIRED                   Portland, Oregon 97204-2690
                                                                                              (503) 241-4869
               LEASES TO FILE A CLAIM
                         Case 18-31644-pcm11       Doc 545    Filed 11/13/18
              2.    The Court authorize the parties set forth on Exhibit 1 to the proposed Order

      (Exhibit A) to file a claim for any damages sustained as a result of the rejection of the

      Contracts/Leases pursuant to FRBP 3002(c)(4) and 3003(c)(3).

              3.    Nothing in this Motion or any order thereon shall impair, modify, or otherwise

      restrict any party from asserting or submitting a claim for administrative rent as would be

      allowed under 11 U.S.C. § 503.

              Dated: November 13, 2018

                                               VANDEN BOS & CHAPMAN, LLP



                                               By:/s/Douglas R. Ricks
                                                 Douglas R. Ricks, OSB #044026
                                                 Of Attorneys for Debtor-in-Possession
                                                 Sunshine Dairy Foods Management, LLC




Page 3 of 3    DEBTOR'S NOTICE OF REJECTION OF EXECUTORY CONTRACTS                VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
               AND UNEXPIRED LEASES; MOTION TO SET DEADLINE ALLOWING                319 SW Washington Street, Suite 520
               PARTIES TO REJECTED EXECUTORY CONTRACTS AND UNEXPIRED                   Portland, Oregon 97204-2690
                                                                                              (503) 241-4869
               LEASES TO FILE A CLAIM
                         Case 18-31644-pcm11       Doc 545     Filed 11/13/18
                                  IN THE UNITED STATES BANKRUPTCY COURT

                                       FOR THE DISTRICT OF OREGON

         In re                                            Bankruptcy Case Nos.

         Sunshine Dairy Foods Management, LLC             18-31644-pcm11
         Karamanos Holdings, Inc.
                                                          18-31646-pcm11

                                                          [PROPOSED] ORDER SETTING DEADLINE
                                                          FOR PARTIES TO REJECTED EXECUTORY
                                                          CONTRACTS AND UNEXPIRED LEASES
                        Debtors-in-Possession.            TO FILE A CLAIM

                 Based on Debtor-in-Possession, Sunshine Dairy Foods Management, LLC’s

        (“Debtor”), Notice of Rejection of Executory Contracts and Unexpired Leases; Motion to Set

        Deadline Allowing Parties to Rejected Executory Contracts and Unexpired Leases to File a

        Claim (Dkt. No. ____) ("Motion"), and the Court being otherwise fully advised, it is

                 ORDERED that:

                 1.    Debtor's Motion is hereby granted; and

                 2.    The holders of the executory contracts and unexpired leases listed on the

        attached Exhibit 1 will be allowed 45 days following entry of this Order within which to file a

Page 1 of 2   [PROPOSED] ORDER SETTING DEADLINE FOR PARTIES TO REJECTED             VANDEN BOS & CHAPMAN, LLP
                                                                                               Attorneys at Law
              EXECUTORY CONTRACTS AND UNEXPIRED LEASES TO FILE A CLAIM                319 SW Washington Street, Suite 520
                                                                                         Portland, Oregon 97204-2690
        Exhibit A - Page 1 of 6                                                                 (503) 241-4869



                             Case 18-31644-pcm11     Doc 545     Filed 11/13/18
        claim for any damages sustained as a result of the rejection of the executory contract and/or

        unexpired lease.

                IT IS FURTHER ORDERED that nothing in this order shall impair, modify, or

        otherwise restrict any party from asserting or submitting a claim for administrative rent as

        would be allowed under 11 U.S.C. § 503.

                                                              ###

                I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).

        PRESENTED BY:

         VANDEN BOS & CHAPMAN, LLP



         By:/s/Douglas R. Ricks
           Douglas R. Ricks, OSB #044026
           Of Attorneys for Debtor-in-Possession
           Sunshine Dairy Foods Management, LLC

         First Class Mail:                                      Electronic Mail:

                                                                The foregoing was served on all CM/ECF
         See Attached List. (The original Service List is       participants through the Court's Case
         attached to the original copy filed with the Court     Management/Electronic Case File system.
         only. Creditors may request a copy of the Service
         List by contacting the undersigned.)




Page 2 of 2   [PROPOSED] ORDER SETTING DEADLINE FOR PARTIES TO REJECTED                      VANDEN BOS & CHAPMAN, LLP
                                                                                                        Attorneys at Law
              EXECUTORY CONTRACTS AND UNEXPIRED LEASES TO FILE A CLAIM                         319 SW Washington Street, Suite 520
                                                                                                  Portland, Oregon 97204-2690
                                                                                                         (503) 241-4869

        Exhibit A - Page 2 of 6

                              Case 18-31644-pcm11             Doc 545    Filed 11/13/18
                                                                                   LEASES AND EXECUTORY CONTRACTS
                                                                                            TO BE REJECTED



                                           NO.                   LESSOR                  DESCRIPTION OF LEASES/EXECUTORY CONTRACTS TO BE REJECTED

                                           1     All American First Aid & Safety         First Aid Kit Maintenance, Past Due 1,062.36 (Monthly or As Needed)
                                                 16055 SW Walker Rd Ste 196
                                                 Beaverton, OR 97006




                 Exhibit 1 - Page 1 of 4
                 Exhibit A - Page 3 of 6
                                           2     Americold                               Storage Agreement -Off Site Cold Storage
                                                 1440 Silverton Rd.
                                                 Woodburn, OR 97071
                                           3     AR Arena Products, Inc.                 Totes for East Plan; Past due $20,630.81; monthly payments of$3,735.00; 6
                                                 2101 Mt. Read Blvd                      more months (May 2018 - Oct 2018) on one, 7 more months on the other
                                                 Rochester, NY 14615                     (May - Nov)
                                           4     Hanmi Bank                              UCC #90963365;Agreement #10-013357/9-BRO-1197 8 dated 8/25/16; Lease
                                                 Assigned Claim Bank of California, NA   of (10) Microsoft Dynamics-NAV/JustFoo dERP-10 Full Users; (0.198) 24%
                                                 3660 Wilshire Blvd.                     (possible duplicate of UCC 90963776)




Case 18-31644-pcm11
                                                 Los Angeles, CA 91001

                                           5     Hanmi Bank                              UCC #90963776; Agreement #10-013357/9-BRO-1197 8 dated 8/25/16; Lease
                                                 Assigned Claim Bank of California, NA   of (10) Microsoft Dynamics-NAV/JustFoo dERP-10 Full Users; (0.198) 24%
                                                 3660 Wilshire Blvd.                     Enhancement
                                                 Los Angeles, CA 91001




Doc 545
                                           6     Beaver Sports Properties, LLC           Advertising Contract;$7,083.33 monthly - Ends June 2020
                                                 c/o Learfield Communications, LLC
                                                 P.O. Box 843038
                                                 Kansas City, MO 64184
                                           7     Canon Financial Services                Lease of Scanners; Past due $2,139.14; Monthly Payments of$1,099.77. Last




Filed 11/13/18
                                                 14904 Collections Center Drive          scheduled payment 4/20/20 on scanner agreement.
                                                 Chicago, IL 60693
                                           8     Cintas Corporation - 463                Uniform Contract; Past due $22,910.25; Monthly payments of $8,207.44
                                                 PO Box 650838                           expires 8/1/2019.
                                                 Dallas, TX 75265
                                           9     Columbia Oregon 98th Ave                DC Lease; Past due$21,830.03; Payment of 20,441.04 due 5/31/18; monthly
                                                   Industrial LLC                        payments of$22,000 - Expires 3/1/2020
                                                 PO Box 848138-076
                                                 Dallas, TX 75284



                                                                                                                                                                     11/8/2018 1:28 PM
                                                                                 LEASES AND EXECUTORY CONTRACTS
                                                                                          TO BE REJECTED



                                           NO.                 LESSOR                  DESCRIPTION OF LEASES/EXECUTORY CONTRACTS TO BE REJECTED
                                           10 Eroad Inc.                               Contract for GPS in Trucks; Past due$4,698; Monthly payments of $1,566
                                               7618 SW Mohawk Street
                                               Tualatin, OR 97062
                                           11   Freewire Broadband                     Contract for WiFi; 1 month past due; $975 monthly; 36 month agreement,
                                                7327 SW Barnes Rd #701                 12/10/15, 9/16/15, 10/14/15 signed agreements, not sure if renewed




                 Exhibit 1 - Page 2 of 4
                 Exhibit A - Page 4 of 6
                                                Portland, OR 97225
                                           12   Harvest Food Solutions, LLC            Hosting/Servicing of ERP System; past Due $4,820.00 - can be terminated with
                                                501 SE Columbia Shores Blvd, Ste 525   notice.
                                                Vancouver, WA 98661
                                           13   IGI Resources, Inc.                    Natural Gas - renewed on a yearly basis.
                                                12124 Collections Center Drive
                                                Chicago, IL 60693
                                           14   Imperfect Produce Sub Lease            Sublease of Cold Storage Facility located at Sunshine DC, 16117 SW 98th Ave
                                                1616 Donner Ave                        Bldg B, Clackamas OR 97015 to Imperfect Produce Expires 3/1/2020




Case 18-31644-pcm11
                                                San Francisco, CA 94124
                                           15   J&D                                    Storage Agreement -Off Site Cold Storage
                                                12300 SE Carpenter Dr.
                                                Clackamas, OR 97015




Doc 545
                                           16   Karamanos Holdings, Inc.               KHI (Equipment Lease) - Obligation stems from a 5/1/07 lease that was further
                                                801 NE 21st Ave                        amended on 5/9/08, 1/1/11, and 1/1/12 and relates to the lease of equipment for
                                                Portland, OR 97232                     debtor's operations with a stated cost value of $9,731,942. Lease payments,
                                                                                       under the most recent amendment, are $26,961.17 per month. All pre-petition
                                                                                       lease payments have been deferred. Values listed in Schedule A/B. Expired


                                           17   Karamanos Holdings, Inc.               KHI (Commercial Lease) - Obligation stems from a 5/1/07 lease that relates to
                                                801 NE 21st Ave                        the lease of real property and improvements for debtor's operations located at




Filed 11/13/18
                                                Portland, OR 97232                     801 NE 21st Ave., Portland, OR; 915 NE 21st Ave., Portland, OR; 925 NE 25th
                                                                                       Ave., Portland, OR; and 8440 NE Halsey St., Portland, OR. Base rent
                                                                                       payments as of the date of the petition are$40,373.49 with additional rent
                                                                                       payments for taxes, insurance, and utilities. Debtor paid $200,000 to KHI on
                                                                                       May 8, 2018 on account of such lease; all outstanding pre-petition lease
                                                                                       payments have been deferred.
                                           18   KPA Services, LLC                      Online Training System
                                                PO Box 301526
                                                Dallas, TX 75303


                                                                                                                                                                         11/8/2018 1:28 PM
                                                                                LEASES AND EXECUTORY CONTRACTS
                                                                                         TO BE REJECTED



                                           NO.                LESSOR                  DESCRIPTION OF LEASES/EXECUTORY CONTRACTS TO BE REJECTED
                                           19 McKinney Trailer Rentals               Contract #45610 Unit#538961 - Lease of 53ft Reefer Roll; $.05/mile, $950/mth
                                               12008 Inverness Dr                    Expires 8/31/18
                                               Portland, OR 97220
                                           20   McKinney Trailer Rentals             Unit #53963; lease of 53ft Reefer Roll - Expires 8/1/18
                                                12008 Inverness Dr




                 Exhibit 1 - Page 3 of 4
                 Exhibit A - Page 5 of 6
                                                Portland, OR 97220
                                           21   McKinney Trailer Rentals             Unit #541560 Contract #42981 Rental of 53ft Van 102 in Swing;
                                                12008 Inverness Dr                   $200/week
                                                Portland, OR 97220
                                           22   McKinney Trailer Rentals             Contract #48675 Unit #532239 - Rental of 53ft Reefer Roll; $.06/mile$1,250/mth
                                                12008 Inverness Dr
                                                Portland, OR 97220
                                           23   Pacific Office Automation            Service contract on Printers; $562.51 past due; $150 per month - 60 month
                                                14747 NW Greenbrier Parkway          terms, starting: 1/14




Case 18-31644-pcm11
                                                Beaverton, OR 97006
                                           24   Pacific Office Automation            Service contract on Printers; $2,300 per month - 60 month terms, starting: 2/14
                                                PO Box 51043
                                                Los Angeles, CA 90051
                                           25   Paetec                               Phone System; $2,000 per month; Past due$1,597.01




Doc 545
                                                PO Box 9001013                       ending 6/2020
                                                Louisville, KY 40290                 (agreement began 6/15 for 60 mo)
                                           26   Penske Truck Leasing Company LP      Trust Fleet Rentals -See Exhibit I for details
                                                PO Box 7429
                                                Pasadena, CA 91110-7429
                                           27   Pitney Bowes Global Financial        Lease of Postage Meter; $630 per month - Ends January 2019
                                                PO Box 371887




Filed 11/13/18
                                                Pittsburgh, PA 15250
                                           28   Sprague Pest Control                 Pest control services - month to month after the initial year of 11/14 -11/15
                                                PO Box 2222
                                                Tacoma, WA 98401
                                           29   Sunshine DC                          Storage Lease - Off Site Cold Storage
                                                16117 SW 98th Ave, Bldg B
                                                Clackamas, OR 97015




                                                                                                                                                                       11/8/2018 1:28 PM
                                                                                  LEASES AND EXECUTORY CONTRACTS
                                                                                           TO BE REJECTED



                                           NO.                LESSOR                    DESCRIPTION OF LEASES/EXECUTORY CONTRACTS TO BE REJECTED
                                           30 SVZ-USA, Inc.                            Contract for strawberry puree. 1507954 -Organic Strawberry Puree
                                               c/o Jonathan Edwards                    Packaging -aseptic, cartons, 44 lb. fill; Volume -22,000 lbs./month -264,000
                                               Earl Law Group PLLC                     lbs/year - Validity dates-11/1/2017 -10/31/2018; Price - $1.38/lb., FOB Othello,
                                               1334 S Pioneer Way                      WA
                                               Moses Lake, WA 98837




                 Exhibit 1 - Page 4 of 4
                 Exhibit A - Page 6 of 6
                                           31   Upward Technology                      IT Provider; $8,500 per month; Past due $14,990.50 - Effective 8/22/17, ends
                                                2636 NW 26th Ave, Ste 201              8/22/18, master agreement says can terminate with 60 days notice
                                                Portland, OR 97210
                                           32   US Bank Equipment Finance              Autoclave Table Top;$150 per month; $981.49 past Due - Expires 4/1/2022
                                                PO Box 790448
                                                Saint Louis, MO 63179
                                           33   Verifract                              Red Zone - Production Reporting; $18,187 past due; $12,059.04 due 7/2/18
                                                1680 Meridan Ave, Suite 402            Term 1/1/16 - 12/1/17, auto renewed on 1/1/18 for 2 more years.
                                                Miami Beach, FL 33139-2718




Case 18-31644-pcm11
                                           34   US Bank Equipment Finance              Autoclave Table Top;
                                                PO Box 790448
                                                Saint Louis, MO 63179
                                           35   Wells Fargo Equipment Finance          Toyota Forklift; Past Due $369.38
                                                PO Box 7777                            Expires 8/1/2022




Doc 545
                                                San Francisco, CA 94120
                                           36   Workforce QA                           Precuationary -Information Unavailable at time of filing
                                                1430 South Main Street, Suite C
                                                Salt Lake City, UT 84115
                                           37   Wymore Transfer Company aka Wy-5       Storage Agreement -Off Site Cold Storage
                                                12061 SE Hwy 212
                                                Clackamas, OR 97015




Filed 11/13/18
                                           38   Wymore Transfer Company, Inc.          Storage Agreement -Off Site Cold Storage
                                                12651 SE Capps Rd
                                                Clackamas, OR 97015




                                                                                                                                                                          11/8/2018 1:28 PM
In re Sunshine Dairy Foods Management, LLC
Ch 11 Bankruptcy Case No. 18-31644-pcm11(Lead Case)
In re Karamanos Holdings, Inc.;
Ch 11 Bankruptcy Case No. 18-31646-pcm11




                                    CERTIFICATE - TRUE COPY

DATE:                November 13, 2018

DOCUMENT:           DEBTOR'S NOTICE OF REJECTION OF EXECUTORY CONTRACTS
                    AND UNEXPIRED LEASES; MOTION TO SET DEADLINE ALLOWING
                    PARTIES TO REJECTED EXECUTORY CONTRACTS AND
                    UNEXPIRED LEASES TO FILE A CLAIM

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                                    CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:
 See Attached List. (The original Service List is attached to the original copy filed with the Court
 only. Creditors may request a copy of the Service List by contacting the undersigned.)

by mailing a copy of the above-named document to each of them in a sealed envelope,
addressed to each of them at his or her last known address. Said envelopes were
deposited in the Post Office at Portland, Oregon, on the above date, postage prepaid.

      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

        Dated: November 13, 2018

                                               VANDEN BOS & CHAPMAN, LLP



                                               By:/s/Douglas R. Ricks
                                                 Douglas R. Ricks, OSB #044026
                                                 Of Attorneys for Debtor-in-Possession
                                                 Sunshine Dairy Foods Management, LLC




Page 1 – CERTIFICATE OF SERVICE




                       Case 18-31644-pcm11             Doc 545       Filed 11/13/18
In re Sunshine Dairy Foods Management, LLC;
Bankruptcy Case No. 18-31644-pcm11 (Lead Case);
In re Karamanos Holdings, Inc.;
Bankruptcy Case No. 18-31646-pcm11
Service List

Debtors:                                Leaseholders:                      Karamanos Holdings, Inc.
                                                                           801 NE 21st Ave
Sunshine Dairy Foods Management, LLC    All American First Aid & Safety    Portland, OR 97232
c/o Daniel Boverman, CRO                16055 SW Walker Rd Ste 196
                                        Beaverton, OR 97006                KPA Services, LLC
11285 SW Walker Rd.                                                        PO Box 301526
Portland, OR 97225                      Americold                          Dallas, TX 75303
                                        1440 Silverton Rd.
Karamanos Holdings, Inc.                Woodburn, OR 97071                 McKinney Trailer Rentals
c/o Daniel Boverman, CRO                                                   12008 Inverness Dr
11285 SW Walker Rd.                     AR Arena Products, Inc.            Portland, OR 97220
Portland, OR 97225                      2101 Mt. Read Blvd
                                        Rochester, NY 14615                Pacific Office Automation
                                                                           14747 NW Greenbrier Parkway
Unsecured Creditors Committee:          Hanmi Bank                         Beaverton, OR 97006
                                        Assigned Claim Bank of
Valley Falls Farm, LLC                  California, NA                     Paetec
c/o Bryan P. Coluccio, V.P./            3660 Wilshire Blvd.                PO Box 9001013
General Counsel                         Los Angeles, CA 91001              Louisville, KY 40290
Keystone-Pacific, LLC
18555 SW Teton Avenue                   Beaver Sports Properties, LLC      Penske Truck Leasing Company LP
Tualatin, OR 97062                      c/o Learfield Communications,      PO Box 7429
                                        LLC                                Pasadena, CA 91110-7429
                                        P.O. Box 843038
High Desert Milk                        Kansas City, MO 64184              Pitney Bowes Global Financial
c/o Steven Tarbet, CFO                                                     PO Box 371887
1033 Idaho Avenue                       Canon Financial Services           Pittsburgh, PA 15250
Burley, ID 83318                        14904 Collections Center Drive
                                        Chicago, IL 60693                  Sprague Pest Control
Electric Inc.                                                              PO Box 2222
c/o Christopher C. Winston, President   Cintas Corporation - 463           Tacoma, WA 98401
P.O. Box 820386                         PO Box 650838
                                        Dallas, TX 75265                   Sunshine DC
Vancouver, WA 98682                                                        16117 SW 98th Ave, Bldg B
                                        Columbia Oregon 98th Ave           Clackamas, OR 97015
Ernest Packaging Solutions               Industrial LLC
c/o Jennifer Delgadillo                 PO Box 848138-076                  SVZ-USA, Inc.
Director of Corp. Credit                Dallas, TX 75284                   c/o Jonathan Edwards
5777 Smith Way St.                                                         Earl Law Group PLLC
Commerce, CA 90040                      Eroad Inc.                         1334 S Pioneer Way
                                        7618 SW Mohawk Street              Moses Lake, WA 98837
                                        Tualatin, OR 97062
Stiebrs Farms, Inc                                                         Upward Technology
c/o Janis E. Stiebrs, President         Freewire Broadband                 2636 NW 26th Ave, Ste 201
P.O. Box 598                            7327 SW Barnes Rd #701             Portland, OR 97210
Yelm, WA 98597                          Portland, OR 97225
                                                                           US Bank Equipment Finance
Special Notice:                         Harvest Food Solutions, LLC        PO Box 790448
                                        501 SE Columbia Shores Blvd,       Saint Louis, MO 63179
Scott Laboratories Inc.                 Ste 525
                                        Vancouver, WA 98661                Verifract
Attn: Jill Skoff, Accting Assistant                                        1680 Meridan Ave, Suite 402
PO Box 4559                             IGI Resources, Inc.                Miami Beach, FL 33139-2718
Petaluma, CA 94955                      12124 Collections Center Drive
                                        Chicago, IL 60693                  Wells Fargo Equipment Finance
Sorrento Lactalis, Inc.                                                    PO Box 7777
c/o Phillips Lytle LLP                  Imperfect Produce Sub Lease        San Francisco, CA 94120
Attn: Angela Z. Miller                  1616 Donner Ave
125 Main Street                         San Francisco, CA 94124            Workforce QA
                                                                           1430 South Main Street, Suite C
Buffalo, NY 14203                                                          Salt Lake City, UT 84115
                                        J&D
                                        12300 SE Carpenter Dr.
                                        Clackamas, OR 97015

                           Case 18-31644-pcm11     Doc 545         Filed 11/13/18
